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IN THE UNITED sTATEs DISTRICT CoURT MC
FoR THE WESTERN DISTRICT oF TENNESSEE 05 JUH 22 PH 3_ 36

 

WESTERN DIVISION
aijii>:-»._r v r;z Te-'"\'t
§J£[._;-;('\ljl§ Di§T. CT.
UNITED STATES OF AMERICA _ HJ, MeMF-H:s
V.
04-20242-1»§

CURTIS BYR])

 

ORDER ON ARRAIGNMENT
Superseding Indictmeot

 

 

This cause came to be heard on Q/b.¢,p 22./, 2¢& "\" , the United States Attorney
for this district appeared on behalf of the.édvernment, and the defendant appeared in person and with
counsel:

NAMEM_.,¢é'/_@Mk“ who is Retained/Appoimed. .

The defendant, through counsel, waived formal arraignment and entered a plea of not guilty.

 

All motions shall be filed within thirty (30) days from the date hereof unless, for good cause
shown to a District Judge, such period is extended

L" lHe defendant, who is not in custody, may stand on his present bond.
The defendant, (not having made bond) (being a state prisoner) (being a federal prisoner)
(being held Without bond pursuant to BRA of 1984), is remanded to the custody of the U.S. Marshal.

L/\-/\:j ‘-~_.___

UNITED STATES MAGISTRATE .TUDGE

 

CHARGES: 18:1341, 2 & 3147(1);

U. S. Attorney assigned to Case: C. McMullen

Age: jj

This docz.ment entered on the docket sheet in comptlance
with R.l|e 55 and/or 32!b} FHCrP on ' "

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UNITED sTATE D"ISIC COURT - WESRNTE D'S'TRCT 0 TESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 57 in
case 2:04-CR-20242 was distributed by faX, mail, or direct printing on
June 23, 2005 to the parties listed.

 

 

Tracy Lynn Berry

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Honorable J. Breen
US DISTRICT COURT

